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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL                                                    CIVIL ACTION

VERSUS                                                                  NO. 12-859

MARLIN GUSMAN, ET AL                                                    SECTION I


                                          ORDER

        IT IS ORDERED that an in-chambers status conference shall be held on Tuesday,

March 3, 2020 at 8:30 A.M. Any Monitor that intends to participate by telephone shall contact

chambers at (504) 589-7605 no later than Monday, March 2, 2020 and provide a phone number .

The Court will initiate the call.

        New Orleans, Louisiana this 5th day of February, 2020.



                                                   _________________________________
                                                         LANCE M. AFRICK
                                                   UNITED STATES DISTRICT JUDGE
